         Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 1 of 9



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                               )
                                                       )    Crim. No. 18-cr-10326-RWZ
               v.                                      )
                                                       )
GARY HERMAN,                                           )
                              Defendant.               )

                    GOVERNMENT=S SENTENCING MEMORANDUM

       The United States of America, by and through the undersigned Assistant U.S. Attorneys,

requests that on June 20, 2019 the Court sentence defendant, Gary Herman (hereinafter,

“defendant” or “Herman”), to a three month term of imprisonment, a one year term of supervised

release, a fine within the Guideline sentencing range calculated by the parties in their plea

agreement (unless the Court finds that the Defendant is not able to pay a fine) and that the Court

order the payment of restitution to the MSP.

                                               Facts

       A. Introduction

       In early 2017, the Massachusetts State Police (“MSP”) began an internal investigation of

several overtime programs within what was then known as Troop E.1 Troop E was primarily

responsible for enforcing criminal law and traffic regulations on Interstate-90, the Massachusetts

Turnpike (“I-90”), which spans the Massachusetts/New York border to the Boston Harbor. Troop




1
       Troop E has since been disbanded and its members and responsibilities absorbed into
other MSP troops.


                                                1
         Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 2 of 9



E was comprised of approximately one hundred and fifty troopers, assigned to five barracks:

Westfield, Charlton, Weston, Tunnels, and Headquarters.2

       In early 2018, MSP announced that an internal audit had revealed that a number of former

Troopers were suspected of failing to work some or all of the overtime shifts for which they had

been paid. Soon after, the United States Department of Transportation and FBI began an

investigation of the suspected overtime abuse within Troop E.

       As a result of that investigation, seven former Troopers (including this defendant) and one

former lieutenant were charged with embezzling funds from an agency receiving federal funding,

in violation of 18 U.S.C. §666.

       As of this date, all eight have pleaded guilty to the charges.3 See Pre-Sentence Report

(“PSR”), ¶6.




2
       Both the Tunnels and Headquarters Barracks were located in Boston.
3
        Former Trooper Eric Chin has been sentenced to one day of incarceration, followed by a
one year term of supervised release, former Trooper Gregory Raftery was sentenced to three
months’ incarceration followed by a one year term of supervised release, former Trooper Kevin
Sweeney was sentenced to 60 days incarceration, followed by a one year term of supervised
release, former Trooper Heath McAuliffe was sentenced to one day of imprisonment, followed
by a one year term of supervised release, and, former Lieutenant David Wilson was sentenced to
one day of imprisonment, followed by a two year term of supervised release. See United States
v. Chin, 18-cr-10384-RGS; United States v. Raftery, 18-cr-10203-WGY; United States v.
Sweeney, 18-cr-10286-NMG; United States v. McAuliffe, 19-cr-10056-DLC; and United States v.
Wilson, 18-cr-10290-RGS. The sentencing of former Trooper Daren DeJong was commenced on
May 2, 2019, but has been continued without a new date being set. See United States v. Daren
DeJong, 18-cr-10307-MLW. The sentencing of former Trooper Paul Cesan has not been set.
See United States v. Paul Cesan, 18-10383-DPW.

                                                2
         Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 3 of 9



       B.      The Abuse of Troop E Overtime Programs

       In addition to salary for a regular 8-hour work shift, Troopers within Troop E were also

able to earn hourly overtime pay equivalent to 1.5 times their regular hourly pay rate for various

overtime assignments. Depending upon seniority, Troopers were paid between approximately

$60-75 per hour, while Lieutenants could make $100 per hour, or more.

       One of these overtime programs was the “AIRE” (Accident and Injury Reduction Effort)

program. The objective of the AIRE program was to reduce accidents, crashes, and injuries on I-

90 through an enhanced presence of MSP Troopers who targeted vehicles traveling at excessive

speeds and exhibiting aggressive driving behaviors.

       These AIRE shifts were 4-hours long and organized by letter according to a specific shift:

A-AIRE from 7:30 a.m. to 11:30 a.m.; B-AIRE from 11:00 a.m. to 3:00 p.m.; C-AIRE from 3:30

p.m. to 7:30 p.m.; and D-AIRE from 7:00 p.m. to 11:00 p.m. Each shift was ordinarily comprised

of one Officer in Charge (“OIC”) and from two, up to five, troopers. The OIC was responsible for

insuring that the shifts were conducted according to MSP policy and procedures.

       The A, B, and C AIRES were conducted across the entire Turnpike. Thus, for A, B, and

C AIRES, Troopers from the far-western section of the state could find themselves under the

supervision of an OIC in Boston, or vice versa. The D-AIRES, in contrast, were conducted

exclusively in the Boston tunnels and surrounding areas.

       Another overtime program was the “X-Team” program. X-Team overtime shifts focused

on aggressive driving and were eight hours long, coinciding with existing MSP work shifts, i.e.,

7:00 a.m. to 3:30 p.m. (day); 3:00 p.m. to 11:30 p.m. (evening); and 11:00 p.m. to 7:30 a.m.

(midnight).


                                                3
         Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 4 of 9



       Troopers were expected to issue a minimum of eight to ten citations for each AIRE shift

and twelve to fifteen citations for each X-Team shift. Any failure to issue the required number of

citations drew negative scrutiny from supervisors and command staff.

       Investigation has revealed that the subjects of this investigation performing AIRE and X-

Team overtime routinely and regularly did not work the full four, or eight, hours required.

Troopers assigned to these shifts who chose to abuse these overtime benefits would purport to

write the minimum number of tickets, and then simply go home. In many instances, these Troopers

would obtain the minimum number of citations in an hour, or less.

       In other circumstances, such as inclement weather, these Troopers would forgo writing any

citations at all. In the event of such weather, policy required Troopers working these overtime

shifts to continue to work, i.e., “re-deploy,” as directed by superiors. In practice, inclement

weather meant neither tickets, nor work, was required for Troopers who chose to fraudulently

abuse the AIRE program. Reminiscent of a grade school “snow day,” Troopers abusing the

program treated AIRE overtime as if it were a paid holiday.

                               Advisory Sentencing Guidelines

       A.      The Plea Agreement

       The parties’ positions with respect to the Sentencing Guidelines, which are set forth in

pages 2-3 of the Plea Agreement, are:

        (i)    in accordance with USSG §§ 2B1.1(a)(2), defendant’s base offense level is 6,
               because the offense of conviction has a statutory maximum term of imprisonment
               that is less than 20 years;

        (ii)   in accordance with USSG §§ 2B1.1(b)(1)(B), defendant’s offense level is
               increased by two levels because the offense involved a loss in excess of $6,500 but
               less than $15,000;


                                                4
         Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 5 of 9




        (iii)   in accordance with USSG §§ 2B1.1(b)(10), defendant’s offense level is increased
                by two levels because the offense involved sophisticated means;

        (iv)    in accordance with USSG §§ 3B1.3, defendant’s offense level is increased by two
                levels because the offense involved the abuse of a position of trust;

        (v)     in accordance with USSG §3E1.1, the U.S. Attorney agrees to recommend that the
                Court reduce by two levels defendant’s adjusted offense level because of
                defendant’s prompt acceptance of personal responsibility for the offense
                conviction in this case.

       Accordingly, the parties have calculated the total offense level to be 10. Mr. Herman’s

criminal history category is I, which results in a GSR of 6-12 months’ imprisonment. See Plea

Agreement [D. 23], p. 2-3.

       B.       The Pre-Sentence Report

       In the PSR, Probation’s analysis mirrors that of the parties, except that Probation has

determined that the loss in this matter should be calculated to be $28,049.25. PSR, ¶26A.

       In response to a request from Probation, the United States has reviewed calendar year 2015

materials that it had obtained for the purpose of potentially bringing a superseding indictment

against Herman. Using those materials, and the same methodology as was utilized to calculate the

2016 loss, the government estimated that Herman was not present, and not working, for 77.75

hours of AIRE overtime, and 130 hours of X-Team overtime, during 2015.                 At a rate of

approximately $75 per hour, the loss to the MSP for 2015 was $15,581.25.

       Probation has included those figures in its loss estimate. The inclusion of that loss leads to

a further increase of two points to the Guideline calculation, due to a four point increase under

USSG §2B1.1(b)(1)(C), because the amount of loss is greater than $15,000, but less than $40,000.



                                                 5
         Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 6 of 9



       Using those calculations, Probation has determined the total offense level to be 12. That

offense level, with criminal history category I, results in a GSR of 10 to 16 months’ imprisonment.4

                                  Herman’s Offense Conduct

       Herman had been a Massachusetts State Trooper for just under twenty years at the time of

his suspension in March of 2018. In 2016, Herman collected over $12,000 for AIRE and X-Team

overtime shifts and hours that he did not work. To accomplish this fraud, Herman falsified

citations, overtime paperwork, and MSP payroll submissions. To generate his bogus citations,

Herman copied the information from previously issued citations, sometimes more than once.

        Herman’s conduct on June 17, 2016, is exemplary of this fraud. On that day, payroll

records reflect that Herman was on leave and did not work his regular shift from 11:00 p.m.

through 7:30 a.m. Instead, Herman worked a detail from 8:00 a.m. to 2:00 p.m. and a C-AIRE

overtime shift from 3:30 p.m. to 7:30 p.m.

        To be paid for the C-AIRE overtime shift, Herman submitted eight citations he claimed

to have written during the AIRE shift. In contrast to that claim, however, three of those citations

were written during time he was being paid to work the detail, i.e., between 12:20 p.m. and 12:55

p.m. The remaining five citations, which Herman claimed to have written between 2:10 p.m. and

3:10 p.m. were wholly bogus. In fact, Herman had written identical citations to those same five




4
       The government objects to the PSR’s offense level calculation because it is bound by the
plea agreement to calculate the guidelines in accordance with section 3 of the plea agreement (at
page 2) as set forth above.

                                                 6
          Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 7 of 9



individuals months before, on April 22, 2016, and simply re-used the information from those

citations to create bogus citations in order to paid for hours he did not work. 5

        Herman’s cruiser radio data for that day showed that it had been turned on at

approximately 7:02 a.m. (consistent with when he began the detail) and was turned off at 1:51 p.m.

(when the detail ended). Herman’s cruiser radio was not turned back on until 10:37 p.m. on June

19, 2016. Thus, the entire time that Herman claimed to be working an AIRE shift on June 17,

2016, Herman’s cruiser radio was off – signifying that he was not driving or operating his cruiser.

        By way of further example, on June 19, 2016, payroll records reflect that Herman worked

a B-AIRE shift from 11:00 a.m. to 3:00 p.m. To be paid for that overtime shift, Herman submitted

eight citations he claimed to have written during that shift. The citations purported to have been

written between 11:18 a.m. and 12:57 p.m.

        None of those citations were real. Seven of the citations contained information identical

to citations that had been issued months earlier, on April 9, 2016. The eighth citation included

information on a driver for whom Herman had run a driver history on April 23, 2016.6

        Herman’s cruiser radio showed that it had last turned off two days earlier, at 1:51 p.m. on

June 17, 2016, and did not turn on again until 10:37 p.m. on June 19, 2016. Thus, the entire time




5
         The First Circuit has held that the sophisticated means enhancement is appropriately
applied in cases involving numerous, even repetitive, steps, regardless of whether each step was
itself sophisticated. United States v. Foley, 783 F.3d 7, 25 (1st Cir. 2015) (and cases cited). The
many steps involved in this scheme, some or all of which were undertaken for each fraudulent
overtime shift throughout the year, “make [Herman's] scheme more effective and difficult to
thwart, and it is enough to justify the enhancement.” Foley, 783 F.3d at 25 (quotation omitted).
6
       On June 19, 2016, Herman ran only one driver history check at 11:21 p.m.
(approximately twelve hours after the AIRE shift had ended).

                                                  7
          Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 8 of 9



that Herman claimed to be working an AIRE shift on June 19, 2016, Herman’s cruiser radio was

off – signifying that he was not driving or operating his cruiser.

       Investigators found a similar pattern of fraud throughout Herman’s MSP records for 2016

(i.e., cruiser radio data, CJIS data, bogus citations, MSP paperwork, etc.). Investigators have

determined that during that period, Herman was not present for approximately 84.75 hours of

AIRE overtime and 81.5 hours of X-team overtime.7 At a rate of approximately $75 per hour, the

MSP paid Herman $12,468 for overtime hours that were not worked.

                                             Argument

       Few crimes strike at the core of the justice system more than those involving law

enforcement officers who choose to break, rather than uphold, the law. Though at its heart a crime

motivated by simple greed, it is far more troubling than the run of the mill fraud cases in this court.

This crime, and the abusive culture it served to perpetuate, reflect a betrayal of the trust and power

granted to those who serve in law enforcement.

       The factors set forth in 18 U.S.C. §3553(a), including: the nature and circumstances of the

offense; the history and characteristics of the defendant; and the need for the sentence imposed to

reflect the seriousness of the conduct; dictate a sentence of three months incarceration, a one year

term of supervised release, a fine within the Guideline sentencing range calculated by the parties

in their plea agreement (unless the Court finds that the Defendant is not able to pay a fine) and the

payment of restitution to the MSP.




7
       In or around 2016, Herman’s annual MSP compensation was approximately $227,826,
which included approximately $63,053 in overtime pay.

                                                  8
         Case 1:18-cr-10326-RWZ Document 36 Filed 06/14/19 Page 9 of 9



                                                             Respectfully submitted,

                                                             ANDREW E. LELLING
                                                             United States Attorney

                                                     By:     /s/ Mark Grady
                                                             MARK GRADY
                                                             DUSTIN CHAO
                                                             Assistant U.S. Attorneys



                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).
                                                               /s/ Mark Grady
                                                               MARK GRADY
                                                               DUSTIN CHAO
                                                               Assistant U.S. Attorneys
Date: June 14, 2019




                                                 9
